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     and CareZone Pharmacy LLC
11

12
                                 UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                         SAN FRANCISCO DIVISION
15

16

17   CZ SERVICES, INC., d/b/a CAREZONE                 Case No. 3:18-CV-04217-JD
     PHARMACY and CAREZONE PHARMACY
18   LLC,                                              DECLARATION OF WILLIAM C.
                                                       JACKSON IN SUPPORT OF PLAINTIFF
19                         Plaintiffs,                 CAREZONE PHARMACY LLC’S
                                                       ADMINISTRATIVE MOTION TO FILE
20          vs.                                        UNDER SEAL SELECTED EXHIBITS
                                                       AND DECLARATIONS IN SUPPORT OF
21                                                     MOTION FOR A TEMPORARY
     EXPRESS SCRIPTS HOLDING COMPANY                   RESTRAINING ORDER AND ORDER
22   and EXPRESS SCRIPTS, INC.                         TO SHOW CAUSE AS TO WHY A
                                                       PRELIMINARY INJUNCTION SHOULD
23                         Defendants.                 NOT ISSUE

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                       JACKSON DECL. ISO ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                         CASE NO. 3:18-CV-4217-JD
            Case 3:18-cv-04217-JD          Document 26-1      Filed 07/26/18     Page 2 of 3




 1          I, William C. Jackson, declare as follows:
 2          1.      I am a member of the Bar of the District of Columbia, admitted to practice pro
 3   hac vice in this matter, and a partner at the law firm of Boies Schiller Flexner LLP, counsel to
 4   CareZone Pharmacy LLC (“CZ Pharmacy”) and admitted pro hac vice in this matter. I make
 5   this declaration based upon matters within my own personal knowledge. If called as a witness, I
 6   could and would competently testify to the matters set forth herein. I make this declaration in
 7   support of Plaintiff CZ Pharmacy’s Administrative Motion to File Under Seal Selected Exhibits
 8   to the Declarations of Deleca Reynolds Barnes and William C. Jackson, and the Declarations of
 9   Linda England and Faith Haley, submitted in support of CZ Pharmacy’s Motion for a
10   Temporary Restraining Order and Order to Show Cause as to Why a Preliminary Injunction
11   Should Not Issue.
12          2.      I have reviewed the following documents and confirmed that only the portions
13   identified below merit sealing:
14      Document                           Portions to Be Filed        Designating Party
                                           Under Seal
15
        Exhibit 14 to the Declaration of   Highlighted Portions        Defendants
16      William C. Jackson
        Exhibit 15 to the Declaration of   Highlighted Portions        Defendants
17      William C. Jackson
18      Exhibit 17 to the Declaration of   Highlighted Portions        Defendants
        William C. Jackson
19      Exhibit 18 to the Declaration of   Highlighted Portions        Defendants
        William C. Jackson
20      Exhibit 19 to the Declaration of   Highlighted Portions        Defendants
21      William C. Jackson
        Exhibit 22 to the Declaration of   Highlighted Portions        Defendants
22      William C. Jackson
        Exhibit 23 to the Declaration of   Highlighted Portions        Defendants
23      William C. Jackson
        Exhibit 24 to the Declaration of   Highlighted Portions        Defendants
24
        William C. Jackson
25      Exhibit 25 to the Declaration of   Highlighted Portions        Defendants
        William C. Jackson
26      Exhibit 26 to the Declaration of   Highlighted Portions        Defendants
        William C. Jackson
27      Exhibit 27 to the Declaration of   Highlighted Portions        Defendants
28      William C. Jackson
                  JACKSON DECL. ISO ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                      CASE NO. 3:18-CV-4217-JD
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            Case 3:18-cv-04217-JD          Document 26-1        Filed 07/26/18       Page 3 of 3



        Document                            Portions to Be Filed         Designating Party
 1                                          Under Seal
 2      Exhibit G to the Declaration of     Entire Document              Defendants
        Deleca Reynolds Barnes
 3      The Declaration of Linda            Entire Document              Plaintiff
 4      England
        The Declaration of Faith Haley      Entire Document              Plaintiff
 5

 6
            3.      The highlighted portions of Exhibits 14, 15, 17, 18, 19, 22, 23, 24, 25, 26, 27, and
 7
     the entirety of Exhibit G contain information that CZ Pharmacy believes, based on its negotiations
 8
     with ESI and based on Defendants’ own administrative motion to file under seal similar materials
 9
     (Dkt. 18), that Defendants Express Scripts Holding Company and Express Scripts Inc. (together,
10
     “ESI”) considers confidential and proprietary information related to the terms of the ESI Pharmacy
11
     Provider Agreement entered into by and between ESI and Plaintiff.
12
            4.      CZ Pharmacy’s request to seal is narrowly tailored to the portions of the exhibits
13
     that ESI considers confidential and to merit sealing.
14
            5.      I have also reviewed the Declarations of CZ Pharmacy patients Linda England
15
     and Faith Haley and confirmed that the two declarations merit sealing in their entirety. Both
16
     contain private medical and healthcare information about Ms. England and Ms. Haley that
17
     cannot readily be separated and redacted from the rest of their declarations.
18
            I declare under penalty of perjury that the foregoing is true and correct. Executed this
19
     26th day of July, 2018 in Washington, District of Columbia.
20

21
                                    By: /s/ William C. Jackson
22                                      William C. Jackson
                                        BOIES SCHILLER FLEXNER LLP
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                  JACKSON DECL. ISO ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                      CASE NO. 3:18-CV-4217-JD
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